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Article 43

 

All Members of the United Nations, in order to contribute to the maintenance of
international peace and security, undertake to make available to the Security
Council, on its call and in accordance with a special agreement or agreements,
armed forces, assistance, and facilities, including rights of passage, necessary for
the purpose of maintaining international peace and security.

Such agreement or agreements shall govern the numbers and types of forces, their
degree of readiness and general location, and the nature of the facilities and
assistance to be provided.

The agreement or agreements shail be negotiated as soon as possible on the initiative
of the Security Council. They shall be concluded between the Security Council and
Members or between the Security Council and grouips of Members and shall be
subject to ratification by the signatory states in accordance with their respective
constitutional processes.

Article 44

When the Security Council has decided to use force it shall, before calling upon a Member
not represented on it to provide armed forces in fulfilment of the obligations assumed
under Article 43, invite that Member, if the Member so desires, to participate in the
decisions of the Security Council concerning the employment of contingents of that
Member's armed forces.

Article 45

In order to enable the United Nations to take urgent military measures, Members shail
hold immediately available national air-force contingents for combined international
enforcement action. The strength and degree of readiness of these contingents and plans
for their combined action shall be determined within the limits laid down in the special
agreement or agreements referred to in Article 43, by the Security Council with the
assistance of the Military Staff Committee.

Article 51

“Nothing in the present Charter shall impair the inherent right of individual or collective
self-defence if an armed attack occurs against a Member of the United Nations, until the
Security Council has taken measures necessary to maintain international peace and
. security. Measures taken by Members in the exercise of this nght of self-defence shall be
\ immediately reported to the Security Council and shall not in any way affect the authority
and responsibility of the Security Council under the present Charter to take at any time
such action as it deems necessary in order to maintain or restore international peace and
security."

 

 
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The Security Council,
Taking note of the letters from the Permanent Representative of Lebanon 1/ and from the Permanent Representative of Israel, 2/
Having heard the statement of the Permanent Representatives of Lebanon and israel, 3/

Gravely concerned at the deterioration of the situation in the Middle East and its consequences to the maintenance of
international peace,

Convinced that the present situation impedes the achievement of a just peace in the Middle East,

1, Calls for strict respect for the territorial integrity, sovereignty and political independence of Lebanon within its internationally
recognized boundaries;

2. Calls upon Israel immediately to cease its military action against Lebanese territorial integrity and withdraw forthwith its
forces from ail Lebanese territory;

3. Decides, in the light of the request of the Government of Lebanon, to establish immediately under its authority a United
Nations interim force for Southern Lebanon for the purpose of confirming the withdrawal of Israeli forces, restoring international
peace and security and assisting the Government of Lebanon in ensuring the retum of its effective authority in the area, the
Force to be composed of personnel drawn from Member States;

4. Requests the Secretary-General to report to the Council within twenty-four hours on the implementation of the present
resolution.

Adopted at the 2074th meeting by 12 votes to none, with 2 abstentions (Czechoslovakia, Union of Soviet Socialist Republics).4/

Notes

If bid., documents 8/12600 and S/12606. .
2/ Ibid., document 8/12607.
3/ Ibid., Thirty-third Year, 2071 st meeting.

4f One member (China) did not participate in the voting.

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Israeli-Lebanese Ceasefire Understanding

From Wikipedia, the free encyclopedia

The Israeli-Lebanese Ceasefire Understanding (also known as The Grapes of Wrath
Understandings and the April Understanding) was an informal written agreement between Israel and
Hezbollah, reached through the diplomatic efforts of the US, which ended the 1996 military conflict
between the two sides. The agreement was announced at 18:00 on April 26, 1996.

Under the terms of the agreement, both sides agreed to end cross-border attacks on civilian targets, as
well refrain from using civilian villages to launch attacks. The Monitoring Committee for the
Implementation of the Grapes of Wrath Understandings was set up, comprised of representatives from
the US, France, Syria, Israel and Lebanon. The committee convenes to monitor and discuss
infringements of the understandings by the two sides.

Full Text of the Agreement

The full text of the agreement and adjoining letter from US secretary of state Warren Christopher is as
follows:

The United States understands that after discussions with the governments of Israel and Lebanon and in
consultation with Syna, Lebanon and Israel will ensure the following:

1. Armed groups in Lebanon will not carry out attacks by Katyusha rockets or by any kind of weapon
into Israel.

2. Israel and those cooperating with it will not fire any kind of weapon at civilians or civilian targets in
Lebanon.

3. Beyond this, the two parties commit toe ensuring that under no circumstances will civilians be the
target of attack and that civilian populated areas and industrial and electrical installations will not be
used as launching grounds for attacks.

4, Without violating this understanding, nothing herein shail preclude any party from exercising the
right of self-defense.

A Monitoring Group is established consisting of the United States, France, Syria, Lebanon and Israel. Its
task will be to monitor the application of the understanding stated above. Complaints will be submitted
to the Monitoring Group.

In the event of a claimed violation of the understanding, the party submitting the complaint will do so
within 24 hours. Procedures for dealing with the complaints will be set by the Monitoring Group. The
United States will also organize a Consultative Group, to consist of France, the European Union, Russia
and other interested parties, for the purpose of assisting in the reconstruction needs of Lebanon.

It is recognized that the understanding to bring the current crisis between Lebanon and Israel to an end
cannot substitute for a permanent solution. The United States understands the importance of achieving a
comprehensive peace in the region.

http://en. wikipedia.org/wiki/Israeli-Lebanese_Ceasefire Understanding 1/20/2008

 

 
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are looking at whether there are other steps we could take to try to | 4 Hf aC wen 7

revitalize the process that has been so moribund over the last year.

QUESTION: Can you tell us anything about the exchange of EB
correspondence between the Secretary and Palestinian Authority President

Arafat last week?

MR. RUBIN: I haven't seen any specific correspondence related to the
Middle East peace process. It's possible that in the aftermath or preamble
to the possible use force, that messages were transmitted back and forth.

But I'm not familiar with any new plans or proposals that we put forward
with regard to the Middle East peace process in the last week or so.

QUESTION: And is there any possibility that the Secretary might engage
in that process again while she's in Europe next week? .

MR. RUBIN: I have not heard this trip - which gets back to your original
question, Ralph - I haven't heard any indication that this trip will have a
Middle East peace process character to it, And I don't believe Ambassador

Ross is manifested.

QUESTION: Jamie, the Israelis are saying today that they've given up

pretty much on making peace with Syria and Lebanon, and they simply

are interested in a deal to get themselves out of Lebanon. Do you have any
-* reaction to that? Do you concur with that assessment?

MR. RUBIN: Well, I don't concur with the assessment. Certainly, our task
continues to try to see if we can find a way to bridge the gap between
Israeli views and Syrian views on how to close the circle of peace. That is
what the Israeli government has asked us to do, that is what President
Clinton wants us to do, and I know Secretary Albright and others have
been working on that. It's hard to be optimistic, but "given up" is too
strong a word.

| With regard to the Lebanon issue, we would welcome any effort by the

| parties to the Middle East peace process to engage with each other on the
issues dividing them. We have voted for Resolution 425 and continue to
support it. It has consistently been our position that all foreign troops
should withdraw from Lebanon. We hope that Lebanon-Israeli .
negotiations, if they were to bear fruit, would provide a way for Israel and
Lebanon to resolve ail the issues that divide them and to enhance
Lebanese sovereignty and territorial integrity, as well as the security of
both countries,

QUESTION: Should there be negotiations about an Israeli withdrawal Or,
as the Lebanese and Syrians are claiming, should Israel just get up and
leave unilaterally? —

MR. RUBIN: We've made clear our view, I think. We have said that ail
foreign troops should withdraw. I think this has been a topic that has been

 

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